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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §     CRIMINAL NO. 2:15-CR-429-2
                                           §
JASON LOUIS GARCIA                         §

               ORDER GRANTING MOTION FOR CONTINUANCE

        United States District Judge Nelva Gonzales Ramos referred this case to the

undersigned United States Magistrate Judge for the purpose of conducting a guilty plea

proceeding pursuant to Rule 11 of the Federal Rules of Criminal Procedure. After the

defendant pleaded guilty but before making a recommendation to the District Judge

regarding the plea, the undersigned recalled the case to address an issue of whether the

defendant’s Texas misdemeanor assault conviction was a qualifying predicate offense

under 18 U.S.C. §922(g)(9). See U.S. v. Anderson, 726 F. Supp. 2d 737 (S.D. Tex.

2007)(citations omitted).

        All of the parties agreed the issue should be more closely examined and the

defendant moved to withdraw his plea.          The Government did not object and the

undersigned granted Defendant’s motion to withdraw his plea of guilty.          Further,

defendant’s counsel orally moved for a continuance to conduct additional legal research

and investigation into whether the defendant’s prior conviction qualifies as a

“misdemeanor crime of domestic violence” pursuant to Title 18, United States Code,

Section 922(g)(9). The government was unopposed to the motion for continuance. After


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the undersigned magistrate judge explained to the defendant his right to a speedy trial, the

defendant also asked the Court to continue his pretrial conference and trial.

        The Court has considered the Unopposed Motion for Continuance of the Pretrial

Conference and Trial of defendant, JASON LOUIS GARCIA, and finds that this motion

should be GRANTED.

        Accordingly, the Court GRANTS the motion for continuance and further finds

pursuant to 18 U.S.C. § 3161(h)(7)(A) the ends of justice served by the granting of the

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        It is further ORDERED that this case is set for a status conference before U.S.

Magistrate Judge Jason Libby on August 20, 2015 at 3:00 p.m. The parties should be

prepared to discuss the applicable law and make recommendations about how to proceed

and whether written briefing on the issue is necessary.

        It is further ORDERED that the case is set for a Final Pretrial Conference before

U.S. Magistrate Judge Jason Libby on September 3, 2015 at 9:00 a.m. and Trial is set

before U.S. District Judge Nelva Gonzales Ramos on September 8, 2015 at 9:00 a.m.

        It is further ORDERED that the Defendant’s plea of guilty is WITHDRAWN and

the Sentencing Order (D.E. 34) and the dates and deadlines set forth therein are

VACATED.

        ORDERED this 3rd day of August, 2015.


                                              ___________________________________
                                                           Jason B. Libby
                                                    United States Magistrate Judge


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